                    Case 2:09-cr-00090-WHA-CSC Document 416 Filed 09/14/10 Page 1 of 5
A0 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet I



                                         UNITED STATES DISTRICT COURT
                                                              Middle District of Alabama

             UNITED STATES OF AMERICA                                               JUDGMENT IN A CRIMINAL CASE
                                  V.

                 DEBRA MURPHY LEWIS                                                 Case Number:            2:09cr090-WHA-15

                                                                                    USM Number:             12905-002

                                                                                            BenjaminE. Schoettker
                                                                                    Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        Is of the F          Information on June 1, 2010
Li pleaded nob contendere to count(s)
   which was accepted by the court.
Li was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                            Offense Ended              Count
18:1001 (a)(2)                   False statements                                                                11/2/09                   ls




       The defendant is sentenced as provided in pages 2 through                -5-        of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
Li The defendant has been found not guilty on count(s)             _____                                   _______

X Count(s) 1, 15, 20, and 21 of the Indictment Li is                 X are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                 September_140
                                                                               eofIsionofJudgment




                                                                            W. Harold_Aibritton, Senior U. S. District Judge
                                                                            Name and Title of Judge



                                                                            Date
                                                                                         4 n/
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AO 245B      (Rev. 09/08) Judgment in a Criminal Case
             Sheet 4—Probation
                                                                                                           Judgment—Page      2      of        5
DEFENDANT:     DEBRA MURPHY LEWIS
CASE NUMBER: 2:09cr090-WHA- 15
                                                                 PROBATION
The defendant is hereby sentenced to probation for a term of:

THREE (3) YEARS.




The defendant shall not commit another federal, state or local crime.
  The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
 El The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
      future substance abuse. (Check, f applicable.)
X The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, f applicable.)
X The defendant shall cooperate in the collection of DNA. (Check, f applicable.)
 o The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 1690 l,et seq.)
   as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
   works, is a student, or was convicted of a qualifying offense. (Check, f applicable.)
 El The defendant shall participate in an approved program for domestic violence. (Check, (1 applicable.)
       If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive useof alcohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminalactivity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
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AO 245B   (Rev. 09/08) Judgment in a Criminal Case
          Sheet 4C - Probation
                                                                                           Judgment—Page    3    of       5
DEFENDANT:                DEBRA MURPHY LEWIS
CASE NUMBER:              2:09cr090-WHA- 15

                                        SPECIAL CONDITIONS OF SUPERVISION

Defendant shall provide the probation officer any requested financial information.
Defendant shall not obtain new credit without approval of the court unless in compliance with the payment schedule.
Defendant shall submit to a search of her person, residence, office or vehicle pursuant to the search policy of this court.
                     Case 2:09-cr-00090-WHA-CSC Document 416 Filed 09/14/10 Page 4 of 5
AG 245B     (Rev. 09/08) Judgment in a Criminal Case
            Sheet 5 - Criminal Monetary Penalties
                                                                                                        Judgment Page            of
DEFENDANT:                            DEBRA MURPHY LEWIS
CASE NUMBER:                          2:09cr090-WHA-15
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                         Fine                                Restitution
TOTALS              $ 100.00                                           $ 250.00                            S 4,565.05



 LI The determination of restitution is deferred until ______-. An Amended Judgment in a Criminal Case (AG 245C) will be entered
     after such determination.

 LI The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                   Total Loss*                       Restitution Ordered                   Priority or Percenta2e
Alfa Mutual Insurance Co.                                                                $2,784.68
Attn: Craig Venable, Audit Services
P.O. Box 11000
Montgomery, AL 36191
Claim No. 6380045794
                                                                                        $1,780.37
Zurich Surety & Financial
 Claims Restitution
Attn: Helen Rasmussen
P. 0. Box 17022-MD1-05-04
Baltimore, MD
Claim No. 6380045794




TOTALS                                $                                      $            $4,565.05


 LI Restitution amount ordered pursuant to plea agreement $

 LI The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

X The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      X the interest requirement is waived for the             D fine X restitution.
      D the interest requirement for the               U fine U restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
                   Case 2:09-cr-00090-WHA-CSC Document 416 Filed 09/14/10 Page 5 of 5
AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                             Judgment— Page        5      of          5
DEFENDANT:                  DEBRA MURPHY LEWIS
CASE NUMBER:                2:09cr090-WFIA-15


                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A X Lump sum payment of$ 4,915.05                              due immediately, balance due

                notlater than ________________________ , or
           x in accordance         D C,        D,         E, or X F below; or

B LII Payment to begin immediately (may be combined with fl C,                              D, or        F below); or

C          Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                        (e.g., months or years), to commence                --      (e.g., 30 or 60 days) after the date of this judgment; or

D     LI Payment in equal - - -                  (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                       (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E     fl   Payment during the term of supervised release will commence within(e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F x Special instructions regarding the payment of criminal monetary penalties:
                     Payment shall be made to the Clerk, U. S. District Court, P. 0. Box 711, Montgomery, AL 36101.
                     Any balance remaining on the fine at the start of supervision shall be paid at the rate
                     of $50 per month. Any balance remaining on the restitution at the start of supervision
                     shall be paid at the rate of not less than $200 per month.


Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



X Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.
     Debra Murphy Lewis, 2:09cr090-WHA-15; Total: $4,565.05; Joint and several amount: $4,565.05
     Betty Ann Lewis Smoke, 2:09cr090-WHA-12; Total: $4,565.05; Joint and several amount: $4,565.05



LI The defendant shall pay the cost of prosecution.

LI The defendant shall pay the following court cost(s):

LI The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
